              Case 19-67877-jwc                                   Doc 27               Filed 12/03/19 Entered 12/03/19 23:20:07                                                                    Desc Main
                                                                                       Document     Page 1 of 24

 Fill in this information to identify the case:

                Chris A. Hale Co., LLC
  Debtor name _________________________________________________________________

                                          Northern District of Georgia
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
                                        19-67877
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                       1,801,238.00
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                         1,801,238.00
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                          295,000.00
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                        4,697,376.98



4. Total liabilities ...........................................................................................................................................................................        4,992,376.98
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
              Case 19-67877-jwc                    Doc 27   Filed 12/03/19 Entered 12/03/19 23:20:07                             Desc Main
                                                            Document     Page 2 of 24
  Fill in this information to identify the case:

               Chris A. Hale Co., LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Northern District of Georgia
  Case number (If known):
                                 19-67877
                                _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          Suntrust Bank
    3.1. _________________________________________________  Checking
                                                           ______________________              ____ ____ ____ ____               $______________________
                                                                                                                                   15,000.00
          United Bank
    3.2. _________________________________________________  Checking
                                                           ______________________              ____ ____ ____ ____                 6,000.00
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 21,000.00
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

   ✔
            No. Go to Part 3.
           Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                 page 1
            Case 19-67877-jwc                   Doc 27      Filed 12/03/19 Entered 12/03/19 23:20:07 Desc Main
Debtor           Chris A. Hale Co., LLC
                _______________________________________________________
                                                            Document     Page 3 of Case                 19-67877
                                                                                   24 number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      ✔


      Yes. Fill in the information below.
                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                 page 2
            Case   19-67877-jwc
              Chris A. Hale Co., LLC
                                               Doc 27         Filed 12/03/19 Entered 12/03/19 23:20:07    19-67877
                                                                                                                       Desc Main
Debtor            _______________________________________________________
                                                              Document     Page 4 of Case
                                                                                     24 number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                               Date of the last         Net book value of        Valuation method used      Current value of
                                                        physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                 (Where available)
19. Raw materials
                                                               12/01/2019                                                             74,238.00
  Inventory
   ________________________________________                   ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                   74,238.00
                                                                                                                                    $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     
     ✔      No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     ✔
            No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔      No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used      Current value of debtor’s
                                                                                 debtor's interest        for current value          interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________    $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 3
            Case 19-67877-jwc                 Doc 27         Filed 12/03/19 Entered 12/03/19 23:20:07 Desc Main
Debtor
                Chris A. Hale Co., LLC
               _______________________________________________________
                                                             Document     Page 5 of Case                 19-67877
                                                                                    24 number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture

                                                                                  $________________   ____________________     $______________________
40. Office fixtures

                                                                                  $________________   ____________________     $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
Furniture                                                                                                                        1,000.00
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________
         Account Receivables                                                      $________________    ____________________      1,600,000.00
                                                                                                                               $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
                                                                                                                                 1,601,000.00
                                                                                                                               $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
            Case   19-67877-jwc              Doc 27       Filed 12/03/19 Entered 12/03/19 23:20:07 Desc Main
 Debtor
              Chris A. Hale Co., LLC
                 _______________________________________________________
                                                                                                      19-67877
                 Name
                                                          Document     Page 6 of Case
                                                                                 24 number (if known)_____________________________________

Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          2005 Ford F 750                                                                                                 25,000.00
    47.1___________________________________________________________         $________________   ____________________    $______________________
          2018 Ford F 150                                                                                                 35,000.00
    47.2___________________________________________________________         $________________   ____________________    $______________________
          2018 Ford F 150                                                                                                 35,000.00
    47.3___________________________________________________________         $________________   ____________________    $______________________

    47.4___________________________________________________________         $________________   ____________________    $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________    ____________________    $______________________

    48.2__________________________________________________________         $________________    ____________________    $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________    ____________________    $______________________

    49.2__________________________________________________________         $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    Tools
                                                                                                                          10,000.00
    ______________________________________________________________         $________________    ____________________    $______________________


51. Total of Part 8.                                                                                                      105,000.00
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     
     ✔     No
          Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔     No
          Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                        page 5
             Case
               Chris19-67877-jwc
                    A. Hale Co., LLC              Doc 27         Filed 12/03/19 Entered 12/03/19 23:20:07    19-67877 Desc Main
 Debtor           _______________________________________________________
                                                                 Document     Page 7 of Case
                                                                                        24 number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
       ✔


        Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.

55.1

                                                                                     $_______________     ____________________     $_____________________

55.2

                                                                                     $_______________     ____________________     $_____________________

55.3

                                                                                     $_______________     ____________________     $_____________________


56. Total of Part 9.
                                                                                                                                   $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
           No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
           No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
       ✔


        Yes. Fill in the information below.
        General description                                                          Net book value of    Valuation method         Current value of
                                                                                     debtor's interest    used for current value   debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
       ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.
                                                                                                                                   $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                            page 6
            Case 19-67877-jwc                       Doc 27   Filed 12/03/19 Entered 12/03/19 23:20:07 Desc Main
Debtor            Chris A. Hale Co., LLC
                 _______________________________________________________
                                                             Document     Page 8 of Case                 19-67877
                                                                                    24 number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     ✔
           No. Go to Part 12.
          Yes. Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                     _______________     –   __________________________         =   $_____________________
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                   $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                   $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                      $_____________________
   ____________________________________________________________                                                                      $_____________________
78. Total of Part 11.
                                                                                                                                     $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         No
         Yes

Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 7
              Case   19-67877-jwc
                Chris A. Hale Co., LLC
                                                       Doc 27            Filed 12/03/19 Entered 12/03/19 23:20:07    19-67877
                                                                                                                                  Desc Main
Debtor            _______________________________________________________Document     Page 9 of Case
                                                                                                24 number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         21,000.00
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         0.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         74,238.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         1,601,000.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         105,000.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               0.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         0.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         1,801,238.00                          0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  1,801,238.00                                                                                     1,801,238.00
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
             Case 19-67877-jwc                          Doc 27        Filed 12/03/19 Entered 12/03/19 23:20:07                                     Desc Main
  Fill in this information to identify the case:
                                                                     Document      Page 10 of 24
              Chris A. Hale Co., LLC
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Northern District of Georgia
                                 19-67877
  Case number (If known):       _________________________                                                                                               Check if this is an
                                                                                                                                                            amended filing
  Official Form 206D
  Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                               12/15
  Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien            of collateral.            claim
     Complete Business Solutions                                 Account Receivables
      __________________________________________                                                                                   190,000.00
                                                                                                                                 $__________________          1,600,000.00
                                                                                                                                                            $_________________

     Creditor’s mailing address

      20 N. 3rd St.
      ________________________________________________________
      Philadelphia, PA 19106
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                 Agreement    you made
                                                                 _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred           __________________          
                                                                 ✔   No
    Last 4 digits of account                                        Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                   No
    same property?                                               
                                                                 ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Financial Pacific Leasing, Inc.
                                                                 2005 Ford F 750                                                 $__________________
                                                                                                                                  35,000.00                 $_________________
                                                                                                                                                             25,000.00
      __________________________________________
     Creditor’s mailing address
      3455 S. 344th Way #300
      ________________________________________________________
      Auburn, WA 98001
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      Agreement you made
                                                                  _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes
    
    ✔ No
                                                                 Is anyone else liable on this claim?
     Yes. Have you already specified the relative                  No
              priority?
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.          As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
             Yes. The relative priority of creditors is            Unliquidated
                  specified on lines _____                          Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    295,000.00
                                                                                                                                  $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                          3
                                                                                                                                                              page 1 of ___
               Case   19-67877-jwc
                Chris A. Hale Co., LLC                  Doc 27       Filed 12/03/19 Entered 12/03/19 23:20:07      19-67877    Desc Main
  Debtor            _______________________________________________________
                    Name                                            Document      Page 11 ofCase
                                                                                             24 number (if known)_____________________________________

                                                                                                                                Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                              Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Ford Motor Credit
                                                                2018 Ford F 150
     __________________________________________                                                                                  35,000.00
                                                                                                                                $__________________      35,000.00
                                                                                                                                                        $_________________
     Creditor’s mailing address

     PO Box 790093
     ________________________________________________________

     Saint Louis, MO 63179
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________
                                     2018                       Describe the lien
    Last 4 digits of account                                     Agreement you made
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔   No
    same property?                                                 Yes
    
    ✔ No

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
              Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____                        Disputed


2.__
  4 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Ford Motor Credit
                                                                2018 Ford F 150
     __________________________________________                                                                                  35,000.00
                                                                                                                                $__________________       35,000.00
                                                                                                                                                        $_________________
     Creditor’s mailing address


      PO Box 790093
     ________________________________________________________

      Saint Louis, 63179
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            2018
                                     __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Agreement you made
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔   No
    
    ✔ No                                                           Yes

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
              Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____                        Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___
                                                                                                                                                                 2 of ___
                                                                                                                                                                       3
            Case 19-67877-jwc                Doc 27        Filed 12/03/19 Entered 12/03/19 23:20:07                                   Desc Main
               Chris A. Hale Co., LLC
                                                          Document      Page 12 of 24        19-67877
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      3 of ___
                                                                                                                                                           3
                 Case 19-67877-jwc             Doc 27       Filed 12/03/19 Entered 12/03/19 23:20:07                                Desc Main
   Fill in this information to identify the case:          Document      Page 13 of 24
   Debtor
                    Chris A. Hale Co., LLC
                    __________________________________________________________________

                                           Northern District of Georgia
   United States Bankruptcy Court for the: ________________________________

   Case number       19-67877
                     ___________________________________________
    (If known)

                                                                                                                                       Check if this is an
                                                                                                                                         amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                     12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                 Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           0.00
    Georgia Department of Revenue                                                                                                    $_________________
                                                            Check all that apply.
    1800 Century Blvd., NE                                     Contingent
    Atlanta, GA, 30345                                         Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Internal Revenue Service                                As of the petition filing date, the claim is: $______________________
                                                                                                            0.00                     $_________________
                                                            Check all that apply.
    P.O. Box 7317
    Philadelphia, PA, 19101                                    Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________    $_________________
                                                            Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                             No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)



  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 9
                                                                                                                                           page 1 of ___
  Debtor
             Case
               Chris 19-67877-jwc
                     A. Hale Co., LLC    Doc 27 Filed 12/03/19 Entered
               _______________________________________________________
                                                                                   12/03/19 23:20:07    19-67877 Desc Main
                                                                                 Case number (if known)_____________________________________
               Name                                  Document          Page 14 of 24
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    5 Star Electric, LLC                                                                                                     56,384.00
                                                                                                                           $________________________________
                                                                              Contingent
    6320 Holcomb Way                                                          Unliquidated
    Apt. C                                                                    Disputed
    Norcross, GA, 30092
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    ACDC Electrical Logistics, LLC                                         Check all that apply.                             78,000.00
                                                                                                                           $________________________________
    4515 Metric Dr.                                                           Contingent
    Suite 2                                                                   Unliquidated
    Winter Park, FL, 32792                                                    Disputed
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    BMF Capital                                                                                                              0.00
                                                                                                                           $________________________________
                                                                              Contingent
    1820 Ave. M                                                               Unliquidated
    Suite 125                                                                 Disputed
    Brooklyn, NY, 11230
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Brian Smith                                                            Check all that apply.
                                                                                                                             0.00
                                                                                                                           $________________________________
    20 N. 3rd St.                                                             Contingent
    Philadelphia, PA, 19106                                                   Unliquidated
                                                                              Disputed
                                                                            Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    C&L Family Limited Partners A Partnership                                                                                154,420.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    4760 Peeksville Rd.                                                       Contingent
    Mcdonough, GA, 30252                                                      Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Carolinas Construction Solutions, LLC                                                                                    463,651.82
                                                                                                                           $________________________________
                                                                           Check all that apply.
    P.O. Box 791638                                                           Contingent
    Charlotte, NC, 28206                                                      Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __    9
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  Debtor
              Case
                Chris 19-67877-jwc
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                Name                                  Document          Page 15 of 24
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             252,800.00
                                                                                                                    $________________________________
 Century Fire Protection, LLC                                          Contingent
 2450 Satellite Blvd                                                   Unliquidated
 Duluth, GA, 30096                                                     Disputed

                                                                    Basis for the claim:



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      15,000.00
                                                                                                                    $________________________________
 Chase Card
 Po Box 15298                                                          Contingent
 Wilmington, DE, 19850                                                 Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      8020
                                             ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Chrome Capital Funding                                             Check all that apply.
                                                                                                                     40,000.00
                                                                                                                    $________________________________
 5308 13th Ave.                                                        Contingent
 Suite 324                                                             Unliquidated
 Brooklyn, NY, 11219                                                   Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     0.00
                                                                                                                    $________________________________
 Day to Day Funding                                                 Check all that apply.
 1274 49th St. #197                                                    Contingent
                                                                       Unliquidated
 Brooklyn, NY, 11219                                                   Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Electrical TJF                                                     Check all that apply.
                                                                                                                      200.00
                                                                                                                    $________________________________
 210 South Street                                                      Contingent
 Romford, England, RM1 1TR                                             Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




       Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                     9
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  Debtor
              Case
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                Name                                  Document          Page 16 of 24
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             0.00
                                                                                                                    $________________________________
 Emmett Goodman                                                        Contingent
 544 Mulberry St.                                                      Unliquidated
 Suite 800                                                             Disputed
 Macon, GA, 31201
                                                                    Basis for the claim:



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      2,352.18
                                                                                                                    $________________________________
 Enclave at Roswell
 11251 Alpharetta Hwy                                                  Contingent
 Roswell, GA, 30076                                                    Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Everest Business Funding                                           Check all that apply.
                                                                                                                     46,000.00
                                                                                                                    $________________________________
 8200 NW 52 Terrace                                                    Contingent
 Miami, FL, 33166                                                      Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     36,000.00
                                                                                                                    $________________________________
 Funding Metric Lending                                             Check all that apply.
 1330 Ave. of the Americas                                             Contingent
 Suite 32-A                                                            Unliquidated
 New York, NY, 10019                                                   Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Funding Metrics, LLC                                               Check all that apply.
                                                                                                                      94,000.00
                                                                                                                    $________________________________
 1 Evertrust Plaza                                                     Contingent
 Suite 1101                                                            Unliquidated
 Jersey City, NJ, 07302                                                Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




       Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                     9
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  Debtor
              Case
                Chris 19-67877-jwc
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                                                                                  Case number (if known)_____________________________________
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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             40,000.00
                                                                                                                    $________________________________
 Hollis & Spann, Inc                                                   Contingent
 P.O. Box 1530                                                         Unliquidated
 Dothan, AL, 36302                                                     Disputed

                                                                    Basis for the claim:



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      0.00
                                                                                                                    $________________________________
 John Hartley
 20 N. 3rd St.                                                         Contingent
 Philadelphia, PA, 19106                                               Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 JP Morgan Chase                                                    Check all that apply.
                                                                                                                     3,502.00
                                                                                                                    $________________________________
 323 Jonesboro Rd                                                      Contingent
 Mcdonough, GA, 30253                                                  Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     8,587.74
                                                                                                                    $________________________________
 Julio Cesar Duarte-Lopez                                           Check all that apply.
 2598 New haven Dr. NE                                                 Contingent
 Apt. B                                                                Unliquidated
 Atlanta, GA, 30345                                                    Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Kash Capital                                                       Check all that apply.
                                                                                                                      34,000.00
                                                                                                                    $________________________________
 475 Northern Blvd                                                     Contingent
 Floor 3, Suite 36                                                     Unliquidated
 Great Neck, NY, 11021                                                 Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




       Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                     9
                                                                                                                                                5 of ___
                                                                                                                                           page __
  Debtor
              Case
                Chris 19-67877-jwc
                      A. Hale Co., LLC    Doc 27 Filed 12/03/19 Entered
                _______________________________________________________
                                                                                    12/03/19 23:20:07    19-67877 Desc Main
                                                                                  Case number (if known)_____________________________________
                Name                                  Document          Page 18 of 24
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             40,851.24
                                                                                                                    $________________________________
 Lisa Hale                                                             Contingent
 4760 Peeksville Rd.                                                   Unliquidated
 Mcdonough, GA, 30252                                                  Disputed

                                                                    Basis for the claim:



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      202,941.11
                                                                                                                    $________________________________
 Lowe Electric Supply
 P.O. Box 4767                                                         Contingent
 Macon, GA, 31208                                                      Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Mantis Funding                                                     Check all that apply.
                                                                                                                     98,000.00
                                                                                                                    $________________________________
 340 Royal Poinciana Way                                               Contingent
 Palm Beach, FL, 33480                                                 Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     25,668.00
                                                                                                                    $________________________________
 MGV Services, LLC                                                  Check all that apply.
 120 Kristen Lane                                                      Contingent
 Loganville, GA, 30052                                                 Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Mobile Mini Storage Solutions                                      Check all that apply.
                                                                                                                      2,904.38
                                                                                                                    $________________________________
 4646 East Van Buren St.                                               Contingent
 Suite 400                                                             Unliquidated
 Phoenix, AZ, 85008                                                    Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




       Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                     9
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                                                                                                                                           page __
  Debtor
              Case
                Chris 19-67877-jwc
                      A. Hale Co., LLC    Doc 27 Filed 12/03/19 Entered
                _______________________________________________________
                                                                                    12/03/19 23:20:07    19-67877 Desc Main
                                                                                  Case number (if known)_____________________________________
                Name                                  Document          Page 19 of 24
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             256,000.00
                                                                                                                    $________________________________
 RA-LIN and Associates, Inc.                                           Contingent
 101 Parkwood Circle                                                   Unliquidated
 Carrollton, GA, 30117                                                 Disputed

                                                                    Basis for the claim:



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      48,779.17
                                                                                                                    $________________________________
 Sharpe Contractors, LLC
 425 Buford Hwy                                                        Contingent
 Suite 204                                                             Unliquidated
 Suwanee, GA, 30024                                                    Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Soloman & Baggett                                                  Check all that apply.
                                                                                                                     0.00
                                                                                                                    $________________________________
 3762 Rogers Bridge Rd.                                                Contingent
 Duluth, GA, 30097                                                     Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     719.00
                                                                                                                    $________________________________
 Sunbelt Rentals, Inc                                               Check all that apply.
 P.O. Box 409211                                                       Contingent
 Atlanta, GA, 30348                                                    Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Tradesmen International, LLC                                       Check all that apply.
                                                                                                                      52,872.00
                                                                                                                    $________________________________
 P.O. Box 677807                                                       Contingent
 Dallas, TX, 75267                                                     Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




       Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                     9
                                                                                                                                                7 of ___
                                                                                                                                           page __
  Debtor
              Case
                Chris 19-67877-jwc
                      A. Hale Co., LLC    Doc 27 Filed 12/03/19 Entered
                _______________________________________________________
                                                                                    12/03/19 23:20:07    19-67877 Desc Main
                                                                                  Case number (if known)_____________________________________
                Name                                  Document          Page 20 of 24
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             4,511.64
                                                                                                                    $________________________________
 Vallen Distribution Inc.                                              Contingent
 P.O. Box 404753                                                       Unliquidated
 Atlanta, GA, 30384                                                    Disputed

                                                                    Basis for the claim:



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      38,522.00
                                                                                                                    $________________________________
 Wilson Electric Supply Co.
 680 Second St.                                                        Contingent
 Macon, GA, 31201                                                      Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Winelectric Company                                                Check all that apply.
                                                                                                                     2,600,710.70
                                                                                                                    $________________________________
 8950 Hwy 5                                                            Contingent
 Suite D                                                               Unliquidated
 Douglasville, GA, 30134                                               Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                       No
        Last 4 digits of account number      ___________________       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                       No
        Last 4 digits of account number      ___________________       Yes




       Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                     9
                                                                                                                                                8 of ___
                                                                                                                                           page __
 Debtor
            Case    19-67877-jwc
              Chris A. Hale Co., LLC    Doc 27 Filed 12/03/19 Entered
              _______________________________________________________
                                                                                  12/03/19 23:20:07     19-67877 Desc Main
                                                                                Case number (if known)_____________________________________
              Name                                  Document          Page 21 of 24
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                            Total of claim amounts



5a. Total claims from Part 1                                                                    5a.
                                                                                                             0.00
                                                                                                           $_____________________________




5b. Total claims from Part 2                                                                    5b.   +      4,697,376.98
                                                                                                           $_____________________________




5c. Total of Parts 1 and 2                                                                                   4,697,376.98
                                                                                                5c.        $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page __    9
                                                                                                                                          9 of ___
            Case 19-67877-jwc                 Doc 27        Filed 12/03/19 Entered 12/03/19 23:20:07                                Desc Main
                                                           Document      Page 22 of 24
 Fill in this information to identify the case:

             Chris A. Hale Co., LLC
 Debtor name __________________________________________________________________

                                         Northern District of Georgia
 United States Bankruptcy Court for the:______________________

                            19-67877                                         11
 Case number (If known):    _________________________                Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or
 2.1     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.2     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
            Case 19-67877-jwc                 Doc 27        Filed 12/03/19 Entered 12/03/19 23:20:07                                  Desc Main
                                                           Document      Page 23 of 24
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Chris A. Hale Co., LLC

                                         Northern District of Georgia
 United States Bankruptcy Court for the:_______________________________

                            19-67877
 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

       Chris A Hale                  Chris A Hale
 2.1
                                     4760 Peeksville Road                                                Wilson Electric Supply Co.  D
                                                                                                         _____________________
                                                                                                                                             ✔ E/F
                                                                                                                                             
                                     Mcdonough, GA 30252                                                                                      G




 2.2                                 Chris A Hale
                                     4760 Peeksville Road                                                Century                       D
                                                                                                                   Fire Protection, LLC
                                                                                                          _____________________
                                                                                                                                             ✔ E/F
                                                                                                                                             
                                     Mcdonough, GA 30252                                                                                      G
       Chris A Hale



 2.3                                 Chris A Hale
                                     4760 Peeksville Road                                                 Carolinas   Construction Solutions,
                                                                                                           _____________________       D     LLC
                                                                                                                                             ✔ E/F
                                                                                                                                             
                                     Mcdonough, GA 30252
       Chris A Hale                                                                                                                           G



 2.4
                                     Chis A Hale
                                     4760 Peeksville Road                                                Complete
                                                                                                          _____________________      ✔ D
                                                                                                                     Business Solutions
                                                                                                                                     
                                     Mcdonough, GA 30252                                                                                      E/F
       Chis A Hale                                                                                                                            G



 2.5                                 Chris A Hale
                                     4760 Peeksville Road                                                Day  to Day Funding
                                                                                                          _____________________               D
                                                                                                                                             ✔ E/F
                                                                                                                                             
                                     Mcdonough, GA 30252                                                                                      G
       Chris A Hale


 2.6
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
          Case 19-67877-jwc                 Doc 27        Filed 12/03/19 Entered 12/03/19 23:20:07                              Desc Main
                                                         Document      Page 24 of 24
 Fill in this information to identify the case and this filing:

              Chris A. Hale Co., LLC
 Debtor Name __________________________________________________________________

                                         Northern District of Georgia
 United States Bankruptcy Court for the: ________________________________

                              19-67877
 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    12/03/2019
        Executed on ______________                          /s/ Chris A. Hale
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Chris A. Hale
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Member
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
